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Form CGFI25 (01/14/23)


                                                    United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov

                                                                              Adversary Number: 23−01031−PDR
Case Number: 22−17842−PDR



In re:
Name of Debtor(s): Vital Pharmaceuticals, Inc.
−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−− /

Vital Pharmaceuticals, Inc. and JHO Intellectual Property Holdings, LLC
                                                                              ALL DOCUMENTS REGARDING THIS MATTER
Plaintiff(s)                                                                  MUST BE IDENTIFIED BY BOTH ADVERSARY
                                                                              AND BANKRUPTCY CASE NUMBERS
VS.

Orange Bang, Inc. and Monster Energy Company
Defendant(s)
−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−/




                              SUMMONS AND NOTICE OF SCHEDULING
                            CONFERENCE IN AN ADVERSARY PROCEEDING


YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this summons with the
clerk of the bankruptcy court at the address indicated below within 30 days, pursuant to BR 7012, after the date of issuance of
this summons, except that the United States and its offices and agencies must submit a motion or answer to the complaint
within 35 days.


Federal Building
299 E Broward Blvd, Room 112
Ft Lauderdale FL 33301



At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

         Name and Address of Plaintiff's Attorney
         Michael Jordan Niles
         313 N. Monroe Street Suite 301
         Tallahassee, FL 32301


If you make a motion, your time to answer is governed by Bankruptcy Rule 7012. Pursuant to BR 7007.1, and Local Rule
7003−1(B)(2) corporate defendants must file a corporate ownership statement.




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                                       SCHEDULING CONFERENCE:



Date: April 19, 2023
Time: 10:00 AM
Location: U.S. Courthouse, 299 E Broward Blvd #301, Ft Lauderdale, FL 33301




IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY
OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR
THE RELIEF DEMANDED IN THE COMPLAINT.




                                                                    Clerk of Court
                                                                    By: Lorenzo Rodriguez
                                                                    Deputy Clerk




 Dated: February 21, 2023




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                                     CERTIFICATE OF SERVICE

I, ___________________________________________ (name), certify that service of this summons and a
copy of the complaint was made __________________ (date) by:

   ____ Mail Service: Regular, first class United States mail, postage fully pre−paid, addressed to:




   ____ Personal Service: By leaving the process with defendant or with an officer or agent of
        defendant at:




   ____ Residence Service: By leaving the process with the following adult at:



   ____ Certified Mail Service on an Insured Depository Institution: By sending the process by
        certified mail addressed to the following officer of the defendant at:




   ____ Publication: The defendant was served as follows: [Describe briefly]



   ____ State Law: The defendant was served pursuant to the laws of the State of
        ________________________, as follows: [Describe briefly]

If service was made by personal service, by residence service, or pursuant to state law, I further certify that
I am, and at all times during the service of process was, not less than 18 years of age and not a party to
the matter concerning which service of process was made.

Under penalty of perjury, I declare that the foregoing is true and correct.


Date: __________________________                Signature: _______________________________________


                       Print Name:

                       Address:

                       City:                     State:            Zip:

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